     Case 3:23-cv-00155 Document 7-1 Filed on 07/27/23 in TXSD Page 1 of 1




                        UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             GALVESTON DIVISION

BRIANNE DRESSEN, et al.,                    §
                                            §
       Plaintiffs,                          §
                                            §
v.                                          §      Civil Action 3:23-cv-155
                                            §
ROB FLAHERTY, White House                   §
Director of Digital Strategy, in his        §
official capacity; et al.,                  §
                                            §
       Defendants.                          §

                              [PROPOSED] ORDER

      Upon consideration of Defendants’ consent motion for an extension of time,

and upon due deliberation, it is hereby

      ORDERED that the motion is granted; and it is further

      ORDERED that Defendants shall respond to Plaintiffs’ complaint on or

before August 14, 2023.

      SO ORDERED




Dated: ____________, 2023                     __________________________
                                          UNITED STATES DISTRICT JUDGE
